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 5
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 6   MISTER BAILEY
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     MISTER BAILEY,                             Case No.:
11
                  Plaintiff,                    COMPLAINT FOR INJUNCTIVE
12                                              RELIEF AND DAMAGES FOR
           vs.                                  VIOLATION OF:
13
                                                1. AMERICANS WITH DISABILITIES
14   CR FOOD MANAGEMENT, INC. D/B/A             ACT, 42 U.S.C. §12131 et seq.;
15   VIA CARINO; CHUE CHANG,                    2. CALIFORNIA’S UNRUH CIVIL
     TRUSTEE OF CHUE CHANG TRUST;               RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                              52 et seq.;
     and DOES 1 to 10,
17                Defendants.                   3. CALIFORNIA’S DISABLED
                                                PERSONS ACT, CAL CIV. CODE §54 et
18                                              seq.
19                                              4. CALIFORNIA’S UNFAIR
                                                COMPETITION ACT, CAL BUS & PROF
20                                              CODE § 17200, et seq.
21                                              5. NEGLIGENCE
22
23
24
25         Plaintiff MISTER BAILEY (“Plaintiff”) complains of Defendants CR FOOD
26   MANAGEMENT, INC. D/B/A VIA CARINO; CHUE CHANG, TRUSTEE OF CHUE
27   CHANG TRUST; and DOES 1 to 10 (“Defendants”) and alleges as follows:
28




                                   COMPLAINT FOR DAMAGES - 1
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 1                                 JURISDICTION AND VENUE
 2         1.     The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3   violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4         2.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 5   arising from the same nucleus of operating facts, are also brought under California law,
 6   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7   54, 54., 54.3 and 55.
 8         3.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9   property which is the subject of this action is located in this district, in La Puente, Los
10   Angeles County, California, and that Plaintiff’s causes of action arose in this district.
11                                            PARTIES
12         4.     Plaintiff is a California resident with a physical disability with substantial
13   limitation in his ability to walk. Plaintiff suffers from complete paraplegia due to a spinal
14   cord injury and requires the use of a wheelchair at all times when traveling in public.
15         5.     Defendants are, or were at the time of the incident, the real property owners,
16   business operators, lessors and/or lessees of the real property for VIA CARINO
17   (“Business”) located at or about 1066 N. Hacienda Blvd., La Puente, California.
18         6.     The true names and capacities, whether individual, corporate, associate or
19   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
20   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
21   Court to amend this Complaint when the true names and capacities have been
22   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
23   fictitiously named Defendants are responsible in some manner, and therefore, liable to
24   Plaintiff for the acts herein alleged.
25         7.     Plaintiff is informed and believes, and thereon alleges that, at all relevant
26   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
27   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
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                                    COMPLAINT FOR DAMAGES - 2
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 1   the things alleged herein was acting with the knowledge and consent of the other
 2   Defendants and within the course and scope of such agency or employment relationship.
 3         8.     Whenever and wherever reference is made in this Complaint to any act or
 4   failure to act by a defendant or Defendants, such allegations and references shall also be
 5   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 6   and severally.
 7                                 FACTUAL ALLEGATIONS
 8         9.     On or about November 11, 2019, Plaintiff went to the Business. On or about
 9   January 6, 2020, Plaintiff returned to the Business. The Business is a restaurant business
10   establishment, which is open to the public, is a place of public accommodation and
11   affects commerce through its operation.
12         10.    While attempting to enter the Business during each visit, Plaintiff personally
13   encountered a number of barriers that interfered with his ability to use and enjoy the
14   goods, services, privileges, and accommodations offered at the Business. To the extent
15   of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
16   limited to, the following:
17                a.     Defendants failed to comply with the federal and state standards for
18                       the parking space designated for persons with disabilities. Defendants
19                       failed to provide the parking space identification sign with the
20                       International Symbol of Accessibility.
21                b.     Defendants failed to comply with the federal and state standards for
22                       the parking space designated for persons with disabilities. Defendants
23                       failed to post required signage such as “Van Access,” “Minimum Fine
24                       $250” or “Unauthorized Parking.”
25                c.     Defendants failed to maintain the parking space designated for
26                       persons with disabilities to comply with the federal and state
27                       standards. Defendants failed to provide a proper van accessible space
28                       designated for the persons with disabilities.



                                   COMPLAINT FOR DAMAGES - 3
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 1                d.     Defendant failed to maintain the parking space designated for persons
 2                       with disabilities to comply with the federal and state standards.
 3                       Defendants failed to paint the ground as required.
 4                e.     Defendants failed to maintain the parking space designated for
 5                       persons with disabilities to comply with the federal and state
 6                       standards. Defendants failed to properly mark the space with the
 7                       International Symbol of Accessibility.
 8                f.     Defendants failed to maintain the parking space designated for
 9                       persons with disabilities to comply with the federal and state
10                       standards. Defendants failed to install a wheel stop.
11                g.     Defendant failed to maintain the parking space designated for persons
12                       with disabilities to comply with the federal and state standards.
13                       Defendants failed to provide a proper ramp for the persons with
14                       disabilities.
15                h.     Defendant failed to maintain the parking space designated for persons
16                       with disabilities to comply with the federal and state standards.
17                       Defendants failed to provide the access aisles with level surface
18                       slopes.
19         11.    These barriers and conditions denied Plaintiff the full and equal access to the
20   Business. Plaintiff wishes to patronize the Business again as it is conveniently located
21   for Plaintiff. However, Plaintiff is deterred from visiting the Business because his
22   knowledge of these violations prevents him from returning until the barriers are removed.
23         12.    Based on the violations, Plaintiff alleges, on information and belief, that
24   there are additional barriers to accessibility at the Business after further site inspection.
25   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
26   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
27
28




                                    COMPLAINT FOR DAMAGES - 4
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 1         13.    In addition, Plaintiff alleges, on information and belief, that Defendants
 2   knew that particular barriers render the Business inaccessible, violate state and federal
 3   law, and interfere with access for the physically disabled.
 4         14.    At all relevant times, Defendants had and still have control and dominion
 5   over the conditions at this location and had and still have the financial resources to
 6   remove these barriers without much difficulty or expenses to make the Business
 7   accessible to the physically disabled in compliance with ADDAG and Title 24
 8   regulations. Defendants have not removed such barriers and have not modified the
 9   Business to conform to accessibility regulations.
10                                   FIRST CAUSE OF ACTION
11       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
12         15.    Plaintiff incorporates by reference each of the allegations in all prior
13   paragraphs in this complaint.
14         16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
15   shall be discriminated against on the basis of disability in the full and equal enjoyment of
16   the goods, services, facilities, privileges, advantages, or accommodations of any place of
17   public accommodation by any person who owns, leases, or leases to, or operates a place
18   of public accommodation. See 42 U.S.C. § 12182(a).
19         17.    Discrimination, inter alia, includes:
20                a.     A failure to make reasonable modification in policies, practices, or
21                       procedures, when such modifications are necessary to afford such
22                       goods, services, facilities, privileges, advantages, or accommodations
23                       to individuals with disabilities, unless the entity can demonstrate that
24                       making such modifications would fundamentally alter the nature of
25                       such goods, services, facilities, privileges, advantages, or
26                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
27                b.     A failure to take such steps as may be necessary to ensure that no
28                       individual with a disability is excluded, denied services, segregated or



                                     COMPLAINT FOR DAMAGES - 5
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 1                       otherwise treated differently than other individuals because of the
 2                       absence of auxiliary aids and services, unless the entity can
 3                       demonstrate that taking such steps would fundamentally alter the
 4                       nature of the good, service, facility, privilege, advantage, or
 5                       accommodation being offered or would result in an undue burden. 42
 6                       U.S.C. § 12182(b)(2)(A)(iii).
 7                c.     A failure to remove architectural barriers, and communication barriers
 8                       that are structural in nature, in existing facilities, and transportation
 9                       barriers in existing vehicles and rail passenger cars used by an
10                       establishment for transporting individuals (not including barriers that
11                       can only be removed through the retrofitting of vehicles or rail
12                       passenger cars by the installation of a hydraulic or other lift), where
13                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
14                d.     A failure to make alterations in such a manner that, to the maximum
15                       extent feasible, the altered portions of the facility are readily
16                       accessible to and usable by individuals with disabilities, including
17                       individuals who use wheelchairs or to ensure that, to the maximum
18                       extent feasible, the path of travel to the altered area and the
19                       bathrooms, telephones, and drinking fountains serving the altered
20                       area, are readily accessible to and usable by individuals with
21                       disabilities where such alterations to the path or travel or the
22                       bathrooms, telephones, and drinking fountains serving the altered
23                       area are not disproportionate to the overall alterations in terms of cost
24                       and scope. 42 U.S.C. § 12183(a)(2).
25         18.    Where parking spaces are provided, accessible parking spaces shall be
26   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
27   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
28   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA



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 1   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 2   be van parking space. 2010 ADA Standards § 208.2.4.
 3         19.    Under the ADA, the method and color of marking are to be addressed by
 4   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
 5   Building Code (“CBC”), the parking space identification signs shall include the
 6   International Symbol of Accessibility. Parking identification signs shall be reflectorized
 7   with a minimum area of 70 square inches. Additional language or an additional sign
 8   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
 9   parking space identification sign shall be permanently posted immediately adjacent and
10   visible from each parking space, shall be located with its centerline a maximum of 12
11   inches from the centerline of the parking space and may be posted on a wall at the
12   interior end of the parking space. See CBC § 11B-502.6, et seq.
13         20.    Moreover, an additional sign shall be posted either in a conspicuous place at
14   each entrance to an off-street parking facility or immediately adjacent to on-site
15   accessible parking and visible from each parking space. The additional sign shall not be
16   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
17   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
18   designated accessible spaces not displaying distinguishing placards or special license
19   plates issued for persons with disabilities will be towed always at the owner’s expense…”
20   See CBC § 11B-502.8, et seq.
21         21.    Here, Defendants failed to provide the parking space identification sign with
22   the International Symbol of Accessibility. In addition, Defendants failed to provide signs
23   stating “Minimum fine $250” or “Van Accessible.” Moreover, Defendants failed to
24   provide the additional sign with the specific languages stating “Unauthorized vehicles
25   parked in designated accessible spaces not displaying distinguishing placards or special
26   license plates issued for persons with disabilities will be towed always at the owner’s
27   expense…”
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                                   COMPLAINT FOR DAMAGES - 7
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 1         22.    For the parking spaces, access aisles shall be marked with a blue painted
 2   borderline around their perimeter. The area within the blue borderlines shall be marked
 3   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
 4   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
 5   be painted on the surface within each access aisle in white letters a minimum of 12 inches
 6   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
 7   11B-502.3.3.
 8         23.      Here, Defendants failed to properly maintain the access aisles as there was
 9   no “NO PARKING” painted on the parking surface. Moreover, Defendants failed to
10   provide the access aisle with the minimum width of 96 inches.
11         24.    The surface of each accessible car and van space shall have surface
12   identification complying with either of the following options: The outline of a profile
13   view of a wheel chair with occupant in white on a blue background a minimum 36” wide
14   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
15   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
16   length of the parking space and its lower side or corner aligned with the end of the
17   parking space length or by outlining or painting the parking space in blue and outlining
18   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
19   occupant. See CBC § 11B-502.6.4, et seq.
20         25.    Here, Defendants failed to properly paint the International Symbol of
21   Accessibility on the surface as required. The Symbol painting had faded on the surface.
22         26.    When arranging disabled parking stalls, loading zone access to the
23   accessible route should not force one who is disabled to travel behind any other vehicle
24   other than their own. Wheel stops are required when the front end of the vehicle would
25   encroach into the accessible route and reduce the path under 48”. The entrance warning
26   tow-away signs must provide specific wording and include a reclaim name or phone
27   number installed on the sign. See CBC § 11B-502.7.2. At least one accessible route shall
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                                    COMPLAINT FOR DAMAGES - 8
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 1   connect accessible building, facilities, elements, and spaces that are on the same site.
 2   1991 ADA Standards § 4.3.2.
 3         27.    Here, Defendants failed to install wheel stop and the front end of the vehicle
 4   would encroach into the accessible route.
 5         28.    The cross slope of ramp surfaces shall be no greater than 1:50. Ramp
 6   surfaces shall comply with 4.5. 1991 Standards § 4.8.6. Ramps and landings with drop-
 7   offs shall have curbs, walls, railings, or projecting surfaces that prevent people from
 8   slipping off the ramp. Curbs shall be a minimum of 2 in (50 mm) high. 1991 Standards §
 9   4.8.7. Outdoor ramps and their approaches shall be designed so that water will not
10   accumulate on walking surfaces. 1991 Standards § 4.8.8. Ground and floor surfaces
11   along accessible routes and in accessible rooms and spaces including floors, walks,
12   ramps, stairs, and curb ramps, shall be stable, firm, slip-resistant, and shall comply with
13   4.5. 1991 Standards § 4.5.1.
14         29.    Here, Defendants failed to provide a compliant ramp for the access aisle.
15         30.    Under the 1991 Standards, parking spaces and access aisles must be level
16   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
17   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
18   shall be part of an accessible route to the building or facility entrance and shall comply
19   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
20   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
21   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
22   directions. 1991 Standards § 4.6.3.
23         31.    Here, the access aisles are not level with the parking spaces. Under the 2010
24   Standards, access aisles shall be at the same level as the parking spaces they serve.
25   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
26   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
27   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted. 2010
28   Standards § 502.4. Here, the failure to provide level parking is a violation of the law.



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 1           32.    A public accommodation shall maintain in operable working condition those
 2     features of facilities and equipment that are required to be readily accessible to and usable
 3     by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
 4     maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
 5     violation of Plaintiff’s rights under the ADA and its related regulations.
 6           33.    The Business has denied and continues to deny full and equal access to
 7     Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 8     discriminated against due to the lack of accessible facilities, and therefore, seeks
 9     injunctive relief to alter facilities to make such facilities readily accessible to and usable
10     by individuals with disabilities.
11                                  SECOND CAUSE OF ACTION
12                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
13           34.    Plaintiff incorporates by reference each of the allegations in all prior
14     paragraphs in this complaint.
15           35.    California Civil Code § 51 states, “All persons within the jurisdiction of this
16     state are free and equal, and no matter what their sex, race, color, religion, ancestry,
17     national origin, disability, medical condition, genetic information, marital status, sexual
18     orientation, citizenship, primary language, or immigration status are entitled to the full
19     and equal accommodations, advantages, facilities, privileges, or services in all business
20     establishments of every kind whatsoever.”
21           36.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
22     or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
23     for each and every offense for the actual damages, and any amount that may be
24     determined by a jury, or a court sitting without a jury, up to a maximum of three times the
25     amount of actual damage but in no case less than four thousand dollars ($4,000) and any
26     attorney’s fees that may be determined by the court in addition thereto, suffered by any
27     person denied the rights provided in Section 51, 51.5, or 51.6.
28




                                     COMPLAINT FOR DAMAGES - 10
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 1           37.    California Civil Code § 51(f) specifies, “a violation of the right of any
 2     individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 3     shall also constitute a violation of this section.”
 4           38.    The actions and omissions of Defendants alleged herein constitute a denial
 5     of full and equal accommodation, advantages, facilities, privileges, or services by
 6     physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 7     Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 8     51 and 52.
 9           39.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
10     difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
11     damages as specified in California Civil Code §55.56(a)-(c).
12                                    THIRD CAUSE OF ACTION
13                  VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
14           40.    Plaintiff incorporates by reference each of the allegations in all prior
15     paragraphs in this complaint.
16           41.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
17     entitled to full and equal access, as other members of the general public, to
18     accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
19     and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
20     railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
21     of transportation (whether private, public, franchised, licensed, contracted, or otherwise
22     provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
23     places of public accommodations, amusement, or resort, and other places in which the
24     general public is invited, subject only to the conditions and limitations established by
25     law, or state or federal regulation, and applicable alike to all persons.
26           42.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
27     corporation who denies or interferes with admittance to or enjoyment of public facilities
28     as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an



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 1     individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 2     the actual damages, and any amount as may be determined by a jury, or a court sitting
 3     without a jury, up to a maximum of three times the amount of actual damages but in no
 4     case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 5     determined by the court in addition thereto, suffered by any person denied the rights
 6     provided in Section 54, 54.1, and 54.2.
 7            43.   California Civil Code § 54(d) specifies, “a violation of the right of an
 8     individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 9     constitute a violation of this section, and nothing in this section shall be construed to limit
10     the access of any person in violation of that act.
11            44.   The actions and omissions of Defendants alleged herein constitute a denial
12     of full and equal accommodation, advantages, and facilities by physically disabled
13     persons within the meaning of California Civil Code § 54. Defendants have
14     discriminated against Plaintiff in violation of California Civil Code § 54.
15            45.   The violations of the California Disabled Persons Act caused Plaintiff to
16     experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
17     statutory damages as specified in California Civil Code §55.56(a)-(c).
18                                  FOURTH CAUSE OF ACTION
19                                  UNFAIR COMPETITION ACT
20            46.   Plaintiff incorporates by reference each of the allegations in all prior
21     paragraphs in this complaint.
22            47.   Defendants have engaged in unfair competition, unfair or fraudulent
23     business practices, and unfair, deceptive, untrue or misleading advertising in violation of
24     the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
25            48.   Defendants engage in business practices and policies that create systemic
26     barriers to full and equal access for people with disability in violation of state and federal
27     law.
28




                                     COMPLAINT FOR DAMAGES - 12
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 1            49.    The actions and omissions of Defendants are unfair and injurious to
 2     Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
 3     unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
 4     provided with goods and services provided to other consumers. Plaintiff seeks relief
 5     necessary to prevent Defendants’ continued unfair business practices and policies and
 6     restitution of any month that Defendants acquired by means of such unfair competition,
 7     including profits unfairly obtained.
 8                                     FIFTH CAUSE OF ACTION
 9                                            NEGLIGENCE
10            50.    Plaintiff incorporates by reference each of the allegations in all prior
11     paragraphs in this complaint.
12            51.    Defendants have a general duty and a duty under the ADA, Unruh Civil
13     Rights Act and California Disabled Persons Act to provide safe and accessible facilities
14     to the Plaintiff.
15            52.    Defendants breached their duty of care by violating the provisions of ADA,
16     Unruh Civil Rights Act and California Disabled Persons Act.
17            53.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
18     has suffered damages.
19
20                                       PRAYER FOR RELIEF
21            WHEREFORE, Plaintiff respectfully prays for relief and judgment against
22     Defendants as follows:
23            1.     For preliminary and permanent injunction directing Defendants to comply
24     with the Americans with Disability Act and the Unruh Civil Rights Act;
25            2.     Award of all appropriate damages, including but not limited to statutory
26     damages, general damages and treble damages in amounts, according to proof;
27            3.     Award of all reasonable restitution for Defendants’ unfair competition
28     practices;



                                     COMPLAINT FOR DAMAGES - 13
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 1           4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 2     action;
 3           5.     Prejudgment interest pursuant to California Civil Code § 3291; and
 4           6.     Such other and further relief as the Court deems just and proper.
 5
 6                                DEMAND FOR TRIAL BY JURY
 7           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 8     demands a trial by jury on all issues so triable.
 9
10     Dated: March 10, 2020                   SO. CAL. EQUAL ACCESS GROUP
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12
13                                             By:   _/s/ Jason Yoon_______________
                                                     Jason Yoon, Esq.
14                                             Attorneys for Plaintiff
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                                     COMPLAINT FOR DAMAGES - 14
